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Case: 1:03-cr-00978 Document #: 324 Filed: 08/22/05 Page 2 of 28 PageID #:1079
Case: 1:03-cr-00978 Document #: 324 Filed: 08/22/05 Page 3 of 28 PageID #:1080
Case: 1:03-cr-00978 Document #: 324 Filed: 08/22/05 Page 4 of 28 PageID #:1081
Case: 1:03-cr-00978 Document #: 324 Filed: 08/22/05 Page 5 of 28 PageID #:1082
Case: 1:03-cr-00978 Document #: 324 Filed: 08/22/05 Page 6 of 28 PageID #:1083
Case: 1:03-cr-00978 Document #: 324 Filed: 08/22/05 Page 7 of 28 PageID #:1084
Case: 1:03-cr-00978 Document #: 324 Filed: 08/22/05 Page 8 of 28 PageID #:1085
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Case: 1:03-cr-00978 Document #: 324 Filed: 08/22/05 Page 10 of 28 PageID #:1087
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Case: 1:03-cr-00978 Document #: 324 Filed: 08/22/05 Page 13 of 28 PageID #:1090
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Case: 1:03-cr-00978 Document #: 324 Filed: 08/22/05 Page 21 of 28 PageID #:1098
Case: 1:03-cr-00978 Document #: 324 Filed: 08/22/05 Page 22 of 28 PageID #:1099
Case: 1:03-cr-00978 Document #: 324 Filed: 08/22/05 Page 23 of 28 PageID #:1100
Case: 1:03-cr-00978 Document #: 324 Filed: 08/22/05 Page 24 of 28 PageID #:1101
Case: 1:03-cr-00978 Document #: 324 Filed: 08/22/05 Page 25 of 28 PageID #:1102
Case: 1:03-cr-00978 Document #: 324 Filed: 08/22/05 Page 26 of 28 PageID #:1103
Case: 1:03-cr-00978 Document #: 324 Filed: 08/22/05 Page 27 of 28 PageID #:1104
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